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                     EXHIBIT 1
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   In re Ex Parte Application of               Misc. Action No. 2:19-mc-00060 RSL
     BROADCOM CORPORATION, a
     Delaware corporation, and AVAGO             [PROPOSED] ORDER GRANTING
10   TECHNOLOGIES INTERNATIONAL                  LEAVE TO OBTAIN DISCOVERY FOR
     SALES PTE. LIMITED, a business entity       USE IN FOREIGN PROCEEDINGS
11   formed under the laws of Singapore,
12                               Applicants,
13
     for an Order Pursuant to 28 U.S.C. § 1782
14   Granting Leave to Obtain Discovery for
     Use in Foreign Proceedings.
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                                                                                 LAW OFFICES
     [PROPOSED] ORDER GRANTING LEAVE TO                             CALFO EAKES & OSTROVSKY PLLC
     OBTAIN DISCOVERY FOR USE IN FOREIGN                              1301 SECOND AVENUE, SUITE 2800
                                                                        SEATTLE, WASHINGTON 98101
     PROCEEDINGS - 1                                                 TEL (206) 407-2200 FAX (206) 407-2224
              Case 2:19-cv-00966-RAJ Document 1-1 Filed 05/28/19 Page 3 of 4




 1          The Ex Parte Application of Broadcom Corporation and Avago Technologies
 2   International Sales Pte. Limited (collectively “Applicants”) for an Order Pursuant to 28 U.S.C. §
 3   1782 Granting Leave to Obtain Discovery for Use in Foreign Proceedings (“Application”),
 4   which seeks documents and testimony from Nintendo of America, Inc., Nintendo Technology
 5   Development, Inc., and Nintendo Software Technology Corporation in connection with patent
 6   litigation pending in Germany, came before this Court on or about May 28, 2019.
 7          Having reviewed and considered all moving papers, exhibits, and any oral argument, and
 8   good cause appearing,
 9          IT IS HEREBY ORDERED that:
10          The Application is GRANTED;
11          Applicants are hereby granted leave to issue subpoenas for documents in substantially the
12   form attached as Exhibits 2A, 2B, and 2C to the Application;
13          Applicants are hereby granted leave to issue subpoenas for testimony in substantially the
14   form attached as Exhibits 3A, 3B, and 3C to the Application; and
15          Copies of this Application, its supporting documents, and this Order shall be mailed to
16   the following:
17                    Nintendo of America, Inc., c/o C T Corporation System, 711 Capitol Way S Ste
18   204, Olympia, WA 98501, United States.
19                    Nintendo Technology Development, Inc., c/o C T Corporation System, 711 Capitol
20   Way S Ste 204, Olympia, WA 98501, United States.
21                    Nintendo Software Technology Corporation, c/o C T Corporation System, 711
22   Capitol Way S Ste 204, Olympia, WA 98501, United States.
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                                                                                        LAW OFFICES
     [PROPOSED] ORDER GRANTING LEAVE TO                                    CALFO EAKES & OSTROVSKY PLLC
     OBTAIN DISCOVERY FOR USE IN FOREIGN                                     1301 SECOND AVENUE, SUITE 2800
                                                                               SEATTLE, WASHINGTON 98101
     PROCEEDINGS - 2                                                        TEL (206) 407-2200 FAX (206) 407-2224
              Case 2:19-cv-00966-RAJ Document 1-1 Filed 05/28/19 Page 4 of 4




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 2   Dated: ______________, 2019
                                             U.S. DISTRICT COURT JUDGE
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 4   Presented by:
 5   CALFO EAKES & OSTROVSKY PLLC
 6
     By     s/Damon C. Elder
 7    Damon C. Elder, WSBA #46754
      Nathan Bays, WSBA #43025
 8    1301 Second Avenue, Suite 2800
      Seattle, WA 98101
 9    Telephone: (206) 407-2200
      Email:      damone@calfoeakes.com
10                nathanb@calfoeakes.com
11   Attorneys for Applicants
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                                                                          LAW OFFICES
     [PROPOSED] ORDER GRANTING LEAVE TO                       CALFO EAKES & OSTROVSKY PLLC
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                                                                 SEATTLE, WASHINGTON 98101
     PROCEEDINGS - 3                                          TEL (206) 407-2200 FAX (206) 407-2224
